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                        UNITED STATES DISTRICT COURT
  9
                      SOUTHERN DISTRICT OF CALIFORNIA
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 11 LUZ BOYD-MALONE and MICHAEL             Case No. 3:13-cv-02023-WQH-NLS
    MALONE,
 12                                         ORDER GRANTING JOINT
 13         Plaintiffs,                     MOTION TO DISMISS ACTION
 14        vs.                              Action Filed: July 26, 2013
 15                                         Removed:      August 29, 2013
    CREDIT ACCEPTANCE                       Trial Date:   None Set
 16 CORPORATION and Does 1 through
 17 100,
 18              Defendants.
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Case 3:13-cv-02023-WQH-NLS Document 19 Filed 03/06/15 PageID.102 Page 2 of 2

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            Pending before the Court is the parties’ Joint Motion to Dismiss Action With
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      Prejudice under Federal Rule of Civil Procedure 41(a). Having reviewed the Joint
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  5 Motion, and good cause appearing therefore, IT IS HEREBY ORDERED that the
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      Joint Motion is GRANTED, and this action is hereby dismissed WITH
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      PREJUDICE. Each party shall bear its/her own costs and attorneys’ fees.
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  9 IT IS SO ORDERED.
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      DATED: March 6, 2015
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                                              WILLIAM Q. HAYES
 13                                           United States District Judge
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